                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF IOWA
                             EASTERN DIVISION



 TRACEY K. KUEHL et al.,
               Plaintiffs,                              No. 16-CV-2078-LRR
 vs.                                                           ORDER
 PAMELA SELLNER et al.,
               Defendants.
                                ____________________

       The matter before the court is Plaintiffs’ “Motion for Preliminary Injunction”
(“Motion”) (docket no. 3), which they filed on July 11, 2016. In the Motion, Plaintiffs
request that the court grant a preliminary injunction ordering the immediate transfer of “a
non-ambulatory African Lioness exhibiting signs of respiratory distress and a lethargic
male African Lion from the Cricket Hollow Zoo in Manchester, Iowa to The Wild Animal
Sanctuary in Keenesburg, Colorado . . . .” Motion at 2. In the alternative, Plaintiffs
request that the court “compel Defendants to permit a qualified veterinarian to visit and
examine the lions in order to determine appropriate next steps for proper diagnosis and
treatment.” Id. Defendants have not filed a written response to the Motion. On July 21,
2016, the court held a hearing on the Motion at which both Plaintiffs and Defendants were
present. See July 21, 2016 Minute Entry (docket no. 13). At the hearing, Defendants
agreed to permit a qualified veterinarian to examine the lions in question.1 Nevertheless,
the court shall proceed to analyze the Motion under the proper framework to satisfy itself
that emergency relief is warranted.
       Prior to issuing a preliminary injunction, the court must provide notice and a



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        At the hearing, the parties agreed to permit a qualified veterinarian to examine
each lion at Cricket Hollow Zoo, as it is unclear exactly which lions are at issue.


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hearing to the opposing party. See Fed. R. Civ. P. 65(a). However, the Rules also
provide that the court may issue a temporary restraining order under Rule 65(b) without
notice to the opposing party. Here, only limited notice was provided to Defendants, but
Defendants appeared at the hearing.
       The court may issue a temporary restraining order when “specific facts in an
affidavit or a verified complaint clearly show that immediate and irreparable injury, loss,
or damage will result to the movant before the adverse party can be heard in opposition;
and . . . the movant’s attorney certifies in writing any efforts made to give notice and the
reasons why it should not be required.” Fed. R. Civ. P. 65(b). “Every temporary
restraining order issued without notice must state the date and hour it was issued; describe
the injury and state why it is irreparable; state why the order was issued without notice;
and be promptly filed in the clerk’s office and entered in the record.” Fed. R. Civ. P.
65(b)(2). The temporary restraining order expires when the court so orders, but no later
than fourteen days after entry of the order, unless the court extends the deadline for good
cause or the opposing party consents to an extension. See id. Upon issuance of a
temporary restraining order, “the motion for preliminary injunction must be set for hearing
at the earliest possible time, taking precedence over all other matters except hearings on
older matters of the same character.” Fed. R. Civ. P. 65(b)(3).
       “A district court has broad discretion when ruling on a request for preliminary
injunction . . . .” Richland/Wilkin Joint Powers Auth. v. U.S. Army Corps of Eng’rs, __
F.3d __, __, 2016 WL 3383978, at *2 (8th Cir. June 20, 2016) (quoting Novus
Franchising, Inc. v. Dawson, 725 F.3d 885, 893 (8th Cir. 2013)). “A district court’s
decision to issue a preliminary injunction ‘depends upon a flexible consideration of (1) the
threat of irreparable harm to the moving party; (2) balancing this harm with any injury an
injunction would inflict on other interested parties; (3) the probability that the moving
party would succeed on the merits; and (4) the effect on the public interest.’” Id. at *3


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(quoting Planned Parenthood Minn., N.D., S.D. v. Rounds, 530 F.3d 724, 729 n.3 (8th
Cir. 2008) (en banc)) (quotation marks omitted); see also Dataphase Sys., Inc. v. C L Sys.,
Inc., 640 F.2d 109, 113 (8th Cir. 1981) (listing the factors courts consider in issuing
preliminary injunctions). Similar standards apply to both preliminary injunctions and
temporary restraining orders. See McLeodUSA Telecomm. Servs., Inc. v. Qwest Corp.,
361 F. Supp. 2d 912, 918 (N.D. Iowa 2005). However, “[t]hese factors are not a rigid
formula . . . . The basis of injunctive relief in the federal courts has always been
irreparable harm and the inadequacy of legal remedies.” Bandag, Inc. v. Jack’s Tire &
Oil, Inc., 190 F.3d 924, 926 (8th Cir. 1999) (quoting Beacon Theatres, Inc. v. Westover,
359 U.S. 500, 506-07 (1959)) (quotation marks omitted) (third alteration in original).
       Some courts have found that “[t]he traditional preliminary injunction analysis does
not apply to injunctions issued pursuant to the [Endangered Species Act].” Nat’l Wildlife
Fed’n v. Nat’l Marine Fisheries Serv., 422 F.3d 782, 793 (9th Cir. 2005). This is
because, by enacting the Endangered Species Act, “Congress removed from the courts
their traditional equitable discretion in injunction proceedings of balancing the parties’
competing interest.” Id. at 794 (quoting Nat’l Wildlife Fed’n v. Burlington N. R.R., Inc.,
23 F.3d 1508, 1511 (9th Cir. 1994)). Instead, Congress made it “abundantly clear that
the balance has been struck in favor of affording endangered species the highest of
priorities.” Id. (quoting Tenn. Valley Auth. v. Hill, 437 U.S. 153, 194 (1978)). The
Eighth Circuit Court of Appeals has similarly indicated that the traditional factors do not
apply to cases involving the violation of an explicit statutory provision. See Burlington
Northern R. Co. v. Bair, 957 F.2d 599, 601-02 (8th Cir. 1992) (stating that “where
Congress expressly provides for injunctive relief to prevent violations of a statute, a
plaintiff does not need to demonstrate irreparable harm to secure an injunction”); cf. Nat’l
Wildlife Fed’n v. Harvey, 440 F. Supp. 2d 940, 955-58 (E.D. Ark. 2006) (analyzing a
claim under the Endangered Species Act and finding that, because the underlying facts did


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not allege a direct violation of an explicit provision of the Endangered Species Act, the
traditional factors should still apply). It appears that the violation alleged in the instant
action falls within this category of cases. However, even if the court were to apply the
traditional factors, the outcome would be the same.
       Although framed as a request for preliminary injunction, the court finds it
appropriate to consider whether a temporary restraining order should issue under Rule
65(b) until a trial can take place. See Motion at 2 (requesting that the court provide
“emergency relief”). After reviewing the affidavits and exhibits, the court concludes that
it is appropriate to grant temporary relief until such time that the Motion and Complaint
(docket no. 2) can be addressed in full.
       The court finds that Plaintiffs have demonstrated sufficient likelihood of success on
the merits of their claim for purposes of a temporary restraining order. When determining
whether a party has demonstrated “likelihood of success on the merits, the court should
flexibly weigh the case’s particular circumstances to determine whether the balance of
equities so favors the movant that justice requires the court to intervene to preserve the
status quo until the merits are determined.” Global Geophysical Servs., Inc v. Kuster, No.
4:15-CV-16, 2015 WL 570918, at *3 (D.N.D. Feb. 11, 2015) (unpublished decision)
(quoting Calvin Klein Cosmetics Corp. v. Lenox Labs., Inc., 815 F.2d 500, 503 (8th Cir.
1987)) (quotation marks omitted). However, when examining this factor, the “court does
not decide whether the movant will ultimately win.” PCTV Gold, Inc. v. SpeedNet, LLC,
508 F.3d 1137, 1143 (8th Cir. 2007). Although a court cannot order injunctive relief if
the movant cannot possibly prevail on the merits of his or her claim, “the Eighth Circuit
has rejected a requirement as to a party seeking preliminary relief prove a greater than fifty
[percent] likelihood that he will prevail on the merits.” Id. at 1143 (quoting Dataphase,
640 F.2d at 113) (quotation marks omitted). Here, Plaintiffs argue that they will prevail
because they have succeeded in proving that “defendants harass and harm endangered


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exotic cats in their possession” in prior litigation and that circumstances at Cricket Hollow
Zoo have not changed since that time. Motion at 8. The court finds that, for purposes of
the temporary restraining order, Plaintiffs have demonstrated sufficient likelihood of
success on the merits.
       The balance of harms and the public interest in this action also favor the Plaintiffs.
“The plain intent of Congress in enacting [the Endangered Species Act] was to halt and
reverse the trend toward species extinction, whatever the cost. This is reflected not only
in the stated policies of the Act, but in literally every section of the statute.” Tenn. Valley
Auth., 437 U.S. at 185; see also Bensman v. U.S. Forest Serv., 984 F. Supp. 1242, 1247
(W.D. Mo. 1997) (citing Tennessee Valley and finding that a preliminary injunction should
issue under the Endangered Species Act). Due to the strong policy in favor of protecting
endangered animals, the court finds that the balance of harms and the public interest weigh
in favor of granting a temporary restraining order. Furthermore, the court finds that
Plaintiffs have sufficiently demonstrated that “immediate and irreparable injury, loss, or
damage will result to the movant” without such relief. See Fed. R. Civ. P. 65(b). In
particular, the affidavits of Megan Ross, Senior Vice President at the Lincoln Park Zoo
in Chicago, and Pat Craig, the Executive Director of The Wild Animal Sanctuary,
demonstrate the need for a qualified veterinarian to examine the African lions and,
potentially, provide medical care. See Ross Affidavit (docket no. 3-5) (stating that, “[i]f
the African lioness has not yet been treated by a qualified veterinarian, then I recommend
she be examined by a qualified veterinarian as soon as possible to provide an expert
medical assessment”); Craig Affidavit (docket no. 3-7) (stating that the African lioness
should be “examined by a qualified veterinarian as soon as possible”); see also Marlin
Affidavit (docket no. 3-6) (describing the condition of the lions). Dr. Ross states that “the
African lioness appears thin, has poor body condition, and displays an abnormal
posture . . . [which] could be indicators of compromised wellbeing.” Ross Affidavit at 3.


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Based on the affidavits, Plaintiffs have sufficiently demonstrated that irreparable injury
may occur.
      Because the court finds that there is a “threat of immediate and irreparable injury,”
the court finds that emergency relief is appropriate. See Fed. R. Civ. P. 65(b)(1)(A).
Accordingly, the court shall grant the Motion in part. Because Defendants have received
only limited notice and have not had sufficient time to respond, the court will apply the
restrictions of a temporary restraining order to the instant action.2 Accordingly, the
temporary restraining order shall issue as follows:
      (1)    Defendants shall permit a qualified veterinarian to examine the African lions
             as described in the Motion.         The veterinarian shall communicate any
             treatment recommendations to Defendants.
      (2)    Plaintiffs shall be responsible for any costs associated with the veterinarian’s
             travel to Cricket Hollow Zoo and examination of said lions.
      (3)    This temporary restraining order expires on Thursday, August 4, 2016.
      (4)    This temporary restraining order shall be binding upon the parties to this
             action, their officers, agents, servants, employees and attorneys, and upon
             any persons acting in concert with said parties who receive actual notice of
             this order.
      As discussed at the hearing, the court finds it appropriate to set an expedited trial
date in this matter. Defendants must respond to the Complaint by no later than Tuesday,
July 26, 2016. The parties must exchange witness and exhibit lists by no later than
Tuesday, July 26, 2016. Witness and exhibit lists must be filed with the court by no later
than Thursday, July 28, 2016. Trial will begin on Monday, August 1, 2016 at 9:00
a.m. in Courtroom 1, 111 Seventh Avenue SE, Cedar Rapids, Iowa. The court will issue


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        See July 19, 2016 Order (docket no. 6) requiring Plaintiffs to notify Defendants
of the Motion and of the hearing.

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a separate trial scheduling order setting forth additional dates and times for the trial.
       Based on the foregoing, the Motion is GRANTED IN PART.
       IT IS SO ORDERED.
       DATED this 21st day of July, 2016.




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